CALENDAR : MAGISTRATE’S PROCEEDING
BEFORE MAG. JUDGE_¥ | ; DATE: folehre

DOCKET NUMBER: _ _{0404m ___toge: |IS4a-|li43

DEFENDANT'S NAME : Yoneda Zz
resent _ Not Hyesent \“% Custody __ Bail

DEFENSE COUNSEL :

 

 

___ Federal Defender {CTA ____ Retained
A.U.S.A: : Nas 6 dy DEPUTY CLERK z j \ WO aX )
INTERPRETER : (Language)

 

Hearing held. Hearing adjourned to
______ Defendant was released on. PRB with/without some conditions.
_____ Defendant was advised of bond conditions by the Court and signed the bond.
_____ Surety (ies) were sworn and advised of bond obligations by the Court and signed the bond.

Additional surety (ies) to co-signed bond by

 

At this time, defense counsel states on the record that the defendant does not have a bail
application / package. Order of detention entered with leave to reapply to a Magistrate
or to the District Court Judge to whom the case will be assigned.

~~ Order of Excludable Delay entered. Code Type Start Jol o/ 10 Stop _/ of istio

Order of Speedy Trial entered. Code Type. Start Stop
Defendant’s first appearance. __ Defendant arraigned on the indictment.
Attorney Appointment of FEDERAL DEFENDER CJA

Defendant entered NOT GUILTY PLEA to ALL counts of the indictment.

Status conference set for @, before Judge
OTHERS :

 

 
